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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-95-00557-CR&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellant&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;Bryson Lee McClinton, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 51ST JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. A-95-0463-S, HONORABLE DICK ALCALA, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;&lt;STRONG&gt;&lt;CENTER&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	Appellant, the State of Texas, appeals from an order of the trial court granting
appellee's motion to quash enhancement paragraphs.  The State has filed a motion to withdraw
the appeal.  No decision of this Court has been delivered.  The motion is granted and the appeal
is dismissed.  &lt;EM&gt;See&lt;/EM&gt; Tex. R. App. P. 59(b).&lt;/SPAN&gt;&lt;/P&gt;

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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Before Justices Powers, Aboussie and Kidd&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Appeal Dismissed on Appellant's Motion&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Filed:   December 6, 1995&lt;/SPAN&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Do Not Publish &lt;/SPAN&gt;&lt;/P&gt;

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